       Case 03-49230-RTL      Doc 17   Filed 04/06/04 Entered 04/06/04 11:36:58           Desc Main
                                       Document     Page 1 of 2




UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY


                                                         Case No.:               03-49230
                                                                              ___________________
  In Re:
   Spiro Michals                                         Chapter:                     7

                                                         Judge:                Raymond Lyons
                                                                              ___________________




                                  ORDER RESPECTING
                            AMENDMENT TO SCHEDULE D, E OR F
                                 OR LIST OF CREDITORS


       The relief set forth on the following pages, numbered two (2) through two (2) is hereby ORDERED.




                                                  Raymond T. Lyons Jr./mmn
DATED: April 6, 2004
                                                 Judge, United States Bankruptcy Court




SO 7
Case 03-49230-RTL         Doc 17       Filed 04/06/04 Entered 04/06/04 11:36:58          Desc Main
                                       Document     Page 2 of 2


Page 2


                                              April 5
         The debtor having filed on _________________________,     04
                                                               20 ________, an amendment
               F or to the list of creditors, adding creditor(s) not previously listed, and for
to Schedule ______
good cause shown, it is


         ORDERED that the added creditor(s) has sixty (60) days from the date of this Order, or
until the date specified in the Notice of Chapter 7 Bankruptcy Case, Meeting of Creditors &
Deadlines, whichever is later, to:


         !      file a proof of claim, if the case is an asset case.
         !      file a complaint objecting to discharge under Bankruptcy Code §727(a) or to
                determine dischargeability of its debt under Bankruptcy Code §523(c), if the
                debtor is an individual; and it is further

         ORDERED that the debtor(s) shall serve on the added creditor(s), by mailing within ten
(10) days of the date of this order:

         1.     A copy of this Order, and
         2.     A notice advising such creditor(s) of the following:
                !       the date of the filing of the petition for relief;
                !       the date of the first meeting of creditors;
                !       the date within which a Proof of Claim must be filed, if an asset case; a
                        notification that a claim need not be filed, if a no-asset case;
                !       if the debtor is an individual, the date within which a complaint objecting
                        to discharge/dischargeability must be filed; and
                !       that the debtor(s) may be examined by subpoena pursuant to D.N.J. LBR
                        2004-1; and it is further

         ORDERED that within ten (10) days of the date of this order, the debtor(s) shall file an
affidavit certifying compliance with the above, to which shall be attached a true copy the notice
required by the preceding paragraphs.
